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                       UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                  WESTERN DIVISION




OGLALA SIOUX TRIBE and ROSEBUD                       CIV. 13-5020-JLV
SIOUX TRIBE, as parens patriae^ to
protect the rights of their tribal
members; MADONNA PAPPAN, and
LISA YOUNG,individually and on
behalf of all other persons similarly
situated.

                    Plaintiffs,

     vs.



LISA FLEMING and LAURIE GILL, in
their official capacities,
                    Defendants.



                                   INTRODUCTION


      On January 31, 2018, plaintiffs filed an amended complaint seeking

declaratory and injunctive relief. (Docket 353). As a result of the decision in

Oglala Sioux Tribe v. Fleming. 904 F.3d 603 (8th.Cir. 2018), only claims IV and

V remain.1 Defendants Lisa Fleming, Regional Manager for the South Dakota

Department of Social Services Division of Child Protection Services in Region 1,

Pennington County, Rapid City, South Dakota, and Laurie Gill, Secretary of the

South Dakota Department of Social Services,^ (the "DSS Defendants") filed a


      iplaintiffs acknowledge this reality. (Docket 370 at p. 1). The parties
informally agreed claim III is moot based on the Eighth Circuit's decision.
Because abstention applies equally to claim III it is dismissed without
prejudice.

      ^Laurie Gill was substituted for M. Gregory DeSautel pursuant to Fed. R.
Civ. P. 25(d) on July 9, 2019.
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motion and a renewed motion to dismiss claims IV and V of plaintiffs' amended

complaint pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6). (Dockets 364 85

380). The DSS Defendants move the court to "abstain[] from exercising

jurisdiction under principles of federal-state comity articulated in Younger v. .

Harris. 401 U.S. 37 (1971) and later cases, to include [Oglala Sioux Tribe. 904

F.3d 603]." (Docket 364 at p. 1). Plaintiffs resist the DSS Defendants'

motion. (Dockets 370 85 382). For the reasons stated in this order, the DSS
                                                              \


Defendants' motion is granted.

                                   ANALYSIS


      Entitled "Failure To Train And Supervise DSS Staff," claim IV of plaintiffs'

amended complaint alleges:

      The DSS Defendants have a policy and practice, as evidenced by the
      facts in the record, of failing to adequately train and supervise their
      staff to ensure that Indian children placed into DSS custody are
      returned to their families "immediately [unless continued custody is]
      necessary to prevent imminent physical damage or harm to the
      child." See 25 U.S.C. § 1922. These failures, which involve
      actions taken by DSS staff during and after 48-hour hearings, cause
      plaintiffs to suffer irreparable injury and violate rights secured to
      plaintiffs by the Due Process Clause of the Fourteenth Amendment
      and by the Indian Child Welfare Act ("ICWA"). Relief is sought
      pursuant to 42 U.S.C. § 1983.

(Docket 353 T[ 130)(capitalization omitted). Claim V entitled "Failure to End
Placement When The Reasons for Placement Have Ended," alleges:

      The DSS Defendants have a policy and practice, as evidenced by the
      facts in the record, of failing to end the out-of-home placement of
      Indian children when the reasons given at the 48-hour hearing for
      such placement have ended, thereby violating rights secured to
      plaintiffs by the Due Process Clause of the Fourteenth Amendment
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      and by ICWA and causing plaintiffs to suffer irreparable injury.
      Relief is sought pursuant to 42 U.S.C. § 1983.

Id. If 131 (capitalization omitted).

      In their prayer for relief, plaintiffs seek the following:

      [A] declaratory judgment pursuant to 28 U.S.C. §§ 2201 and 2202
      that declares as a matter of law that... DSS Defendants' policy and
      practice of failing to adequately train and supervise their staff as set
      forth in paragraph 130 above violates the Due Process Clause and
      ICWA;.and ... DSS Defendants' policy and practice of failing to.end
      the out-of-home placement of Indian children when the. reasons
      given at the 48-hour hearing for such placement have ended [as set
      forth in paragraph 131 above] violates the Due Process Clause and
      ICWA[; and]

      [P]reliminaiy and permanent injunctive relief pursuant to F. R. Civ.
      P. Rule 65, enjoining the Defendants and all persons in concert with
      them, and their successors in office, . . . with respect to the DSS
      Defendants, from failing or refusing to adequately train and
      supervise their staff as set forth in paragraph 130 above; and . . .
      with respect to the DSS Defendants, from failing or refusing to end
      the out-of-home placement of Indian children when the reasons
      given at the 48-hour hearing for such placement have ended [as set
      forth in paragraph 131 above].

Id. at pp. 40-41.

      The DSS Defendants argue both claims should be dismissed because

"[t]he motivating force behind Younger^ abstention is the promotion of comity

between state and federal judicial bodies." (Docket 365 at p. 4)(referencing

Aaron v. Target Corp., 357 F.3d 768. 774 (8th Cir. 2004)). The DSS

Defendants contend the three factors identified in Middlesex County Ethics

Commission v. Garden State Bar Association, 457 U.S. 423, 432 (1982),



      3Youngerv. Harris. 401 U.S. 37 (1971),

                                          3
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"should lead to abstention under Youngerf.l" Id. They identify those factors

as:



      (1)   the existence of an ongoing state judicial proceeding,

      (2)   which implicates important state interests, and

      (3)   which provides an adequate opportunity to raise
            constitutional challenges.

Id. (referencing Aaron,.357 F.3d at 774). . The DSS Defendants proceed to

analyze each of those factors. Id. at pp. 4-10.

      Plaintiffs' response argues the DSS Defendants' motion should be denied

"because the Younger abstention doctrine is inapplicable to [claims] IV and V."

(Docket 370 at p. 2). Plaintiffs contend the remaining claims("challenge

administrative policies and practices—notjudicial policies and practices—and

the remedies sought by Plaintiffs require no intervention by this Court into a

state judicial process." Id^(emphasis in original). Plaintiffs assert this is a

significant difference. Plaintiffs argue:         ' '          -

      The prior claims involved activities that occurred during the 48-hour ,
      hearing, such as denying parents in those hearings with an
      opportunity to present evidence, to subpoena witnesses, and to
      confront the caseworker accusing them of abuse and neglect. ... In
      contrast, the current claims involve activities that occur after the
      48-hour hearing, while DSS staff deterrhine whether the children
      placed into their custody at the 48-hour hearing should be returned
      to their families.

I^ at p. 3(emphasis in original). Plaintiffs contend "whereas the prior claims

required this Court to issue a remedial order changing JudiciaZ procedures, the

remedial order Plaintiffs request under [claims] IV and V would only require
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this Court to change administrative procedures."        (emphasis in original).

Instead of"implicatpng] the state judicial system," plaintiffs argue claims "IV

and V challenge the inexcusable delays taken by DSS in determining when

DSS should return the child to the home. These delays are entirely the fault

ofDSS, not the Circuit Court[.]" l± at p. 4. Plaintiffs submit permitting them

to have a remedy against the DSS Defendants "will not undermine The national

policy forbidding federal courts to stay or enjoin pending state court

proceedings.'"      (citing Younger, 401 U.S. at 41). "[I]f Plaintiffs prevail,"

they contend "this Court will direct its remedial order solely against agency

officials and direct them to undertake appropriate measures to adequately train

and supervise their staff in order to substantiedly reduce, if not eliminate, the

unnecessary and harmful delays occurring in virtually every aspect of the post-

48-hour hearing administrative process."        at p. 8.

      In their reply brief, the DSS Defendants contend plaintiffs' argurnent

misses the point.

      "The question under the abstention doctrine is not whether the
      claims have merit such that the exercise offederaljurisdiction would
     /support the state's interest' in affording its residents protection
      under the law.     The issue is whether the federal court should
      refrain from exercising jurisdiction and allow the claims to be
      resolved in the state proceedings. A federal court order dictating
      what procedures must be used in an ongoing state proceeding would .
      'interfere' with that proceeding by inhibiting 'the legitimate
      functioning of the individual state's judicial system.'"

(Docket 371 at p. 5)(citing Oglala Sioux Tribe, 904 F.3d at 611). The DSS

Defendants assert "the imposition of any injunction puts DSS officials in the
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position of being subject to potential sanctions regarding DSS involvement in

the judicial process in 'ongoing' temporaiy custody proceedings."          An

injunction, they argue,"'would disrupt the normal course of proceedings in

state courts via resort to the federal suit for determination of the claim ab

initio,'just as would a request for injunctive relief from an ongoing state

proceeding."      at pp. 5-6 (referencing Qglala Sioux Tribe, 904 F.3d at 612).

      Plaintiffs' argument that they seek administrative changes notjudicial

changes is a distinction without a difference. The relief plaintiffs seek in

claims IV and V "would dictate a host of procedural requirements for the

ongoing state proceedings." Qglala Sioux Tribe. 904 F.3d at 611. An

injunction from this court "dictating what procedures [the DSS Defendants and

their employees must follow]... in an ongoing state proceeding would

'interfere' with that proceeding by inhibiting 'the legitimate functioning of the

individual state's judicial system.'" Id.

      Under Qglala Sioux Tribe, "[tjhe question ... is not whether [plaintiffs']

claims have merit such that the exercise of federal jurisdiction would 'support

the state's interest' in affording its residents protection" under the Due Process

Clause.and the Indian Child Welfare Act, 25 U.S.C. § 1901 et seq. I^

'"[B]ecause an injunction against acts which might occur in the course of

future [civil] proceedings would necessarily impose continuing obligations of

compliance,' alleged noncompliance with the injunction would give rise to

contempt proceedings in federal court." I^(citing Q'Shea v. Littleton, 414
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U.S. 488, 501-02 (1974)). "[S]uch a major continuing intrusion of the

equitable power of the federal courts into the daily conduct of state [civil]

proceedings is in sharp conflict with the principles of equitable restraint' that

the Court recognized in Younger and its progeny." Id. (citing O'Shea. 414 U.S.

at 502). Plaintiffs' claims seek to impose enhanced administrative procedures

on the DSS Defendants and their employees which are an intrinsic part of the

judicial proceedings which Oglala Sioux Tribe addressed. Under Qglala Sioux

Tribe, the court is compelled to graint defendants' motion and renewed motion

to dismiss claims IV and V.


                                     ORDER


      Based on the above analysis, it is

      ORDERED that the DSS Defendants' motion and renewed motion to

dismiss(364 86 380) are granted.

      IT IS FURTHER ORDERED that claim III, claim IV and claim V of

plaintiffs' amended complaint(Docket 353        130 85 131) are dismissed

without prejudice.

      Dated January 16, 2020.

                                BY THE COURT:



                                JEFF^yV Df
                                UNITED STATES DISTRICT JUDGE
